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                                                                              JULY 15 2021
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       Los Angeles, CA 90026
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       Email: justicewithjustin@gmail.com

      Self-Represented
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                               UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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                                                   2:21-CV-05802-DMG-JDEx
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      JUSTIN H. WILKES,                            )   Case No.:
                                                )
                              Plaintiff,           )   COMPLAINT FOR DAMAGES
                                                )
            v.                                     )   (1) RACE DISCRIMINATION
                                                )
                                                   )   JURY TRIAL DEMANDED
   AMAZON.COM, INC.,                            )
                                                   )
                        Defendant.              )
                                                   )
                                                 )
                                                   )
                                                 )
                                                   )
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                                JURISDICTION AND VENUE
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            1.     This Court has subject matter jurisdiction pursuant to 42 U.S.C. § 2000e-
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      5(f)(3) because each United States district court subject to the jurisdiction of the United
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      States shall have jurisdiction of actions brought under this title. Federal question
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   jurisdiction exists pursuant to 28 U.S.C. § 1331 because this civil action arises under
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      the laws of the United States.
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                                       COMPLAINT FOR DAMAGES - 1
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            2.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) and 42 U.S.C. 2000e-
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      5(f)(3) because a substantial part of the events giving rise to this claim occurred in this
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      district and because Plaintiff would have worked in this district but for the alleged
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    unlawful employment practice by Defendant.
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                                           INTRODUCTION
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           3.     This action is brought pursuant to Title VII of the Civil Rights Act of
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      1964, 42 U.S.C. § 2000e et seq, which prohibits employment discrimination based on
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   race. This action alleges that Defendant discriminated against Plaintiff because of
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      Plaintiff’s race as Black or African American. Plaintiff seeks damages in an amount
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      sufficient to compensate Plaintiff for Plaintiff’s loss resulting from Defendant’s

   conduct. Plaintiff hereby requests a jury trial on this matter.
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                                               PARTIES
 

          4.     Plaintiff JUSTIN H. WILKES is an individual and resident of Los Angeles
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      County, California.
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
            5.     Defendant AMAZON.COM, INC. (“Amazon”) is a Delaware domestic
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      corporation, with its principal place of business at 410 Terry Avenue N, Seattle, WA
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      98109.
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                                       COMPLAINT FOR DAMAGES - 2
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                                     STATEMENT OF FACTS
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             A.    Defendant Discriminated Against Plaintiff in Violation of Title VII
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                 of the Civil Rights Act of 1964
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             6.    This is an action for damages based upon Defendant’s practice of
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     employment discrimination against Plaintiff in violation of Title VII of the Civil
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      Rights Act of 1964, 42 U.S.C. § 2000e et seq.
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          7.    Plaintiff is Black or African American.
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             8.    On November 6, 2020, Plaintiff applied for a legal position with
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   Defendant. Defendant sought applicants to fill a Corporate Counsel position in

      Seattle, WA.
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          9.    Defendant intentionally discriminated against Plaintiff. As a result,
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      Plaintiff suffered severe mental and emotional distress.
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           10.   Between October-November 2020, Defendant set out to toy with

      Plaintiff.
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          11.   In October 2020, Plaintiff reached out to Defendant regarding a
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      Corporate Counsel position. At that time, Defendant requested a resume from


   Plaintiff. Defendant then asked Plaintiff to resubmit an updated resume. Defendant
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      provided voluminous instructions on how to do so. Plaintiff then made several
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      changes as instructed. The changes took Plaintiff several hours and several days to
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                                      COMPLAINT FOR DAMAGES - 3
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      complete.
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            12.    On November 6, 2020, Defendant interviewed Plaintiff. During their
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    call, Defendant shared that the Corporate Counsel position had recently been filed.
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      Defendant did not ask Plaintiff any questions. Instead, Defendant discussed salary and
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      benefits with Plaintiff generally. Defendant also described careers in legal.
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            13.    Following the interview, Defendant sent Plaintiff a follow-up email. The
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      email included next steps in the hiring process with Defendant. Defendant required
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   Plaintiff to file an application. This time, Defendant asked Plaintiff to apply for a
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      separate Corporate Counsel position with Defendant. Defendant required Plaintiff to
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   submit a drafting assignment. The drafting assignment took Plaintiff multiple days to
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      complete. Defendant required Plaintiff to review several documents. The documents
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 
      included Defendant’s Leadership Principles, a Benefits guide and Phone Interview

    Preparation Tips. Defendant also scheduled a follow-up interview.
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            14.    On November 16, 2020, Defendant assisted Plaintiff with rescheduling

   on November 23, 2020.
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            15.    On November 23, 2020, Defendant failed to send an invitation to
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      Plaintiff. As a result, Plaintiff’s performance suffered while interviewing with

      Defendant’s Senior Corporate Counsel, Jordan Crandall for the Corporate Counsel
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    position. Defendant actions caused Plaintiff to fail.
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                                       COMPLAINT FOR DAMAGES - 4
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            16.       On December 1, 2020, Defendant rejected Plaintiff.
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                                           CAUSE OF ACTION
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                                       (For Race Discrimination in
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                                     Violation of Title VII of the Civil
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                                      Rights Act of 1964 by Plaintiff
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                                         Justin H. Wilkes against
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                                      Defendant Amazon.com, Inc.)
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            17.       Plaintiff repeats and realleges the foregoing allegations with the same
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      force and effect as if fully set forth herein.
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         18.       Plaintiff believes and alleges that race was a motivating factor in

      Defendant’s decision not to hire Plaintiff in December 2020.
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             19.   Defendant subjected Plaintiff to discrimination as an applicant for the

      Corporate Counsel position.
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                20.   Defendant’s conduct as alleged constitutes an unlawful employment

    practice in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e

      et seq.


          21.      Title VII of the Civil Rights Act of 1964 prohibits employment

      discrimination based on race. Section 703(a)(1), as codified in 42 U.S.C. § 2000e-
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   2(a)(1) of the United States Code, provides that it shall be an unlawful employment
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      practice for an employer:
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                                         COMPLAINT FOR DAMAGES - 5
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                    “to fail or refuse to hire or to discharge any individual, or
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                    otherwise to discriminate against any individual with respect to
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                    his compensation, terms, conditions, or privileges of
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                  employment, because of such individual’s race, color, religion,
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                    sex, or national origin…”
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     Provided in section 703(a)(2), as codified in 2000e-2(a)(2) of the United States
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      Code, it is impermissible for an employer:
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                    “to limit, segregate, or classify his employees or applicants for
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                 employment in any way which would deprive or tend to deprive

                    any individual of employment opportunities or otherwise
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                 adversely affect his status as an employee, because of such

                    individual’s race, color, religion, sex or national origin.”
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 
      As previously described in section 703(a)(1), section 703(m) further emphasizes

    that:
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                    “Except as otherwise provided in this title, an unlawful
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                 employment practice is established when the complaining party

                    demonstrates that race, color, religion, sex, or national origin


                 was a motivating factor for any employment practice, even

                    though other factors also motivated the practice.”
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              22.   In Griggs v. Duke Power Co., 401 U.S. 424, 429 (1971), the United States
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                                        COMPLAINT FOR DAMAGES - 6
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      Supreme Court explained that:
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                   “the language of Title VII makes plain the purpose of Congress
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                   to assure equality of employment opportunities and to eliminate
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                 those discriminatory practices and devices which have fostered
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                   racially stratified job environments to the disadvantage of
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                  minority citizens.”
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      Griggs held that:
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                   “What is required by Congress is the removal of artificial,
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                arbitrary, and unnecessary barriers to employment when the
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                   barriers operate invidiously to discriminate on the basis of
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                racial or other impermissible classification.” Id. at 431.
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            23.    The United States Supreme Court, in Texas Dep’t of Cmty. Affairs v.
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 
      Burdine, 450 U.S. 248, 254 (1981), defined the burden of proof under Title VII of the

    Civil Rights Act of 1964. Id. at 248. To establish a prima facie case of disparate
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      treatment, Burdine provided that:
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                “The plaintiff must prove by the preponderance of the evidence
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                   that [he] applied for an available position for which [he] was
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                qualified, but was rejected under circumstances which give rise
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                   to an inference of unlawful discrimination.” Id. at 253.
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                                         COMPLAINT FOR DAMAGES - 7
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             24.    In this case, Defendant’s refusal to hire Plaintiff for the Corporate Counsel
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      position violated Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.
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             25.    As proscribed in section 703(a)(1), Defendant engaged in an unlawful
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    employment practice when Defendant refused to hire Plaintiff for the Corporate Counsel

      position on December 1, 2020 because of Plaintiff’s race as Black or African American.
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     Plaintiff’s claim for discrimination arose when Defendant rejected Plaintiff following
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      several occasions that caused interruptions in Plaintiff’s interview schedule and following
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      Defendant’s providing Plaintiff a pre-employment drafting assignment based on
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   Plaintiff’s race.
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             26.    Defendant impermissibly limited, segregated and classified Plaintiff as an
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   applicant because of Plaintiff’s race. Defendant’s conduct deprived Plaintiff of the

      Corporate Counsel opportunity. Defendant’s conduct resulted in Plaintiff being
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 
      blackballed from Defendant’s organization, as forbidden by section 703(a)(2).

           27.    Race was a motivating factor for Defendant’s employment practices against

      Plaintiff, as described in section 703(m).
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          28.    Similar to Griggs, Defendant fostered a racially stratified job environment to

      Plaintiff’s disadvantage. Defendant created disturbances on several occasions in
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   Plaintiff’s hiring process. Defendant failed to assure equal employment opportunity in
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      these instances. As a result, Defendant also failed to eliminate discriminatory practices
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      motivated by the pandemic and the political climate of today.
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                                       COMPLAINT FOR DAMAGES - 8
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            29.    Defendant sought to create artificial, arbitrary, and unnecessary barriers that
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      prevented Plaintiff, as a member of a racial minority, from being selected for the
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      Corporate Counsel position. The barriers imposed by Defendant, on numerous occasions,
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    operated to invidiously discriminate based on Plaintiff’s race and, as a result,
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      disproportionately impacted communities of color.
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           30.    Plaintiff has suffered and will continue to suffer substantial losses in
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      earnings and job benefits. Plaintiff has suffered and will continue to suffer mental and
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      emotional distress, pain and suffering, all to Plaintiff’s damage in an amount to be proven
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   at trial. Plaintiff was rendered sick, sore and disabled, both internally and externally, and
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      has suffered numerous internal injuries, such as severe fright, shock, pain and discomfort.
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   The exact nature and extent of said injuries are not known to Plaintiff, who will request
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      leave of court to insert the same when ascertained. Plaintiff does not at this time know the
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      exact permanence of said injuries, but is informed and believes, and thereon alleges, that

    some of Plaintiff’s injuries are reasonably certain to be permanent in character.
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            31.    Defendant intentionally engaged in the unlawful employment practice
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   described against Plaintiff. Plaintiff, therefore, is entitled to an award of punitive

      damages against Defendant.
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         32.    Plaintiff has suffered damages and seeks all remedies available at law and in
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      equity in an amount to be proven at trial.
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                                        COMPLAINT FOR DAMAGES - 9
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                                     REQUEST FOR RELIEF
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      WHEREFORE, Plaintiff demands judgment against Defendant as follows:
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          1.     For affirmative action as may be appropriate.
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            2.     For each offense in an amount that may be determined by a jury.
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           3.     For a permanent injunction or other order to ensure full and fair
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      consideration from Defendant if Plaintiff seeks similar employment in the future.
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         4.     For compensatory damages, including back pay, lost wages and benefits,
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      emotional and mental distress, medical and related expenses, and other pecuniary loss


   not presently ascertained according to proof in an amount to be determined at trial.
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            5.     For punitive damages.
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         6.     For prejudgment interest on all amounts claimed.
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            7.     For any other equitable relief as the Court deems appropriate.

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                                      COMPLAINT FOR DAMAGES - 10
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                                   DEMAND FOR JURY TRIAL
         Plaintiff hereby demands trial by jury of all issues so triable.
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                                                        Respectfully submitted,
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      DATED:       July 15, 2021                           JUSTIN H. WILKES
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                                                   By: __________________________
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                                                           JUSTIN H. WILKES
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                                     COMPLAINT FOR DAMAGES - 11
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